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Allen L, Broughton, P.C.
Licensed in Georgia & North Carolina

May 24, 2010
VIA EMAIL and VIA EMAIL and VIA EMAIL and
CERTIFIED MAIL CERTIFIED MAIL CERTIFIED MAIL
William J.W. Merritt, Esq. James F. Tenney, Esq, Lex A. Watson, I, Esq,
Merritt & Tenney, LLP Merritt & Tenney, LLP Merritt & Tenney, LLP
Suite 500 \ Suite 500 Suite 500
200 Galleria Parkway 200 Galleria Parkway 200 Galletia Parkway
Atlanta, Georgia 30339 Atlanta, Georgia 30339 Atlanta, Georgia 30339

Dear Messrs. Merritt, Tenney, arid Watson:

_ As you know, this firm represents Elaine and Dean Pelton. Although we have not
received the insurance information requested, we are relying on your representation that your
firm’s policy affords $1,000,000.00 in coverage.

The facts underlying this event are among the most egregious I have ever seen, Elaine, a
ten year employee of your firm, suffered the most humiliating invasion of privacy imaginable. A
named partner in your firm is shown on video placing a spy camera under her desk, and the
demeaning pictures of Elaine caught on camera will speak volumes to the jury. Because the
disgraceful behavior involved and obvious damages suffered are so evident, I will not belabor
the point at this time.

The facts presently known are enough to present a compelling case to ajury. Once suit is
filed and depositions of the partners and employees of the firm begin, there are likely to be
numerous additional facts discovered that will make the case eyen stronger. While we anticipate
it will be argued that Mz, Tenney was acting on his own in this matter, the environment that
allowed this behavior to develop will be explored in detail, and it has been my experience that
discovery in this matter will firmly support several claims of negligence — including but not
limited to negligent retention — in addition to the other obvious state law tort claims. When all is
said and done, I do not believe the jury will look favorably upon the actions of either Mr. Tenney
or his firm.

We will also present to the jury the apparent dichotomy in the firm’s dealings with Mr.
Tenney before, during, and after the spy camera came to light. After the spy camera’s discovery,
and before Mr. Tenney’s behavior was uncovered, the firm made a point to adamantly express

 

 

 
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William J.W. Merritt, Esq.
James F, Tenney, Esq.
Lex A Watson, Esq.

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that no firm employee could ever be involved in such an act, let alone a named partner, and that
the firm would do everything necessary to punish the perpetrator and put him in prison. Then,
after the investigation made it clear that a named partner was behind the placement of the spy
camera, the firm was not even sure whether Mx. Tenney was going to be fired and still work at
Merritt & Tenney, LLP, let alone whether or not the firm would prosecute Mr. Tenney’s actions.
A jury will not be pleased with the notion that finding and prosecuting the perpetrator was
important to the firm right up until the moment that a named partner was arrested,

The jury will be presented with facts supporting significant compensatory damages
suffered by Elaine, as she is not likely to be comfortable in a work setting again. Given her worl
history and future earning capacity, her compensatory damages alone would exceed your firm’s
insurance limits. In addition, Dean's consortium claim alone warrants a significant award.
Finally, this case presents facts that would support a headline making punitive damages award,
as Clearly the actions rise to a level that are not subject to any-punitive damages cap,

DE

My clients are willing to settle all claims against all possible parties ~ including Mr.
Tenney, the firm and all partners - for the policy limits of $1,000,000.00. Given the behavior
involved and damages suffered, itis likely that a jury will award a verdict far in excess of this
number. Clearly this is a case that is likely to anger a jury.

; We recognize that some actions involved in this matter could arguably fall outside of
insurance coverage. While we certainly do not agree with this position, this demand is not
contingent ypon coverage existing. This demand is made pursuant to Southern General v, Holt,
200 Ga. App. 757, 409 S.E.2d 759 (1991). Ifthe offer is not accepted by June 11, 2010, the
policy limits demand will be off the table and we will proceed to file suit and seek a sum in
excess of the firm’s policy limits. To that end, please forward this demand on to your carrier so
that they are on notice of this attempt to settle within the policy limits.

In addition to this Holt demand, Tam making an unliquidated demand-at this point as
well, Under the Unliquidated Damages Interest Act, O.C.G.A. § 51-12-14, if the amount
demanded in this letter is not paid within thirty (30) days of the mailing of this notice, then, upon
a judgment for this amount or a sum greater than this amount, you will also be liable for statutory
interest running from the 30th day following this notice.

If you would like to discuss anything regarding this demand, please feel free to call, I
look forward to your response.

Regards,

cw. | Fon —

Allen L. Broughton

TK

 

 
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IN THE STATE COURT OF COBB COUNTY

STATE OF GEORGIA

ELAINE PELTON and,
DEAN PELTON,

Plaintiffs,

y. Civil Action FileNo. /07A-79Y2 -$
MERRITT & TENNEY, LLP,
MERRITT WATSON, LLP, and
JAMES F. TENNEY,

 

Defendants.

 

COMPLAINT FOR DAMAGES

    

‘1.
Plaintiffs are married and residents of the State of Georgia.
2. Cc? .
Oe we OR
Defendant Merritt & Tenney, LLP, (“M&T”) is a limited liability partnership ‘authorized in &
, oS gAu fom) -

to conduct business in Georgia and may be served with process upon any partner or agent
allowed to receive service of process at its principal place of located at 200 Galleria Parkway,
Suite 500, Cobb County, Atlanta, Georgia 30339-3183. M&T was the legal designation of the
firm on the date of the incident in question.
3.

Defendant Merritt Watson, LLP (“M&W”) is a limited liability partnership authorized to
conduct business in Georgia and may be served with process upon any partner or agent allowed
to receive service of process at its principal place of business located at 200 Galleria Parkway,

Suite 500, Cobb County, Atlanta, Georgia 30339-3183.

 

 
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4,

Defendant James F. Tenney (“Tenney”) is resident and citizen of the State of Georgia and
may be served with process at his residence located at 1231 Pebble Creek Road, S.E., Cobb
County, Marietta, Georgia 30067-5433.

5.

Venue and jurisdiction in this Court is proper. This Court has subject matter jurisdiction |
over the matters at issue.

6.

On May 10, 2010, Plaintiff Elaine Pelton reported to her job as legal secretary at Merritt
& Tenney, LLP, at approximately 7 AM. Elaine had been working at M&T for 10 years as a
legal secretary and had sat in the same desk for her entire career. |

7.

Everything was proceeding as a normal Monday morning until Elaine heard an object fall

on her Dictaphone foot pad at approximately 10:30 AM. -
8.

Elaine looked under her desk and saw a black object, about the size of a disposable
cigarette lighter, lying on the floor at her feet. The obj ect was black, seemed electronic in nature
and had a strip of velcro tape attached to it. Elaine looked up on the underside of her desk to
where she thought the object fell from and found a strip of Velcro attached on the underside of
her desk as well. The Velcro tape was located directly in front of her chair.

| 9,
Elaine picked the object up and saw what seemed to be a Jens or viewfinder on one side

along with blinking lights and some writing. Elaine emailed and telephoned her husband, Dean,

 
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to see if he knew what the object was as he is an experienced operator of visual technology:
equipment and computers. Dean conducted a Google search of the item and discovered that it
was a small surveillance spy camera.
10.
“When attached to the underside of her desk to the Velcro strip, the hidden spy camera
pointed directly at Elaine’s chair, legs, and genitalia.
il.

Immediately concerned that it could be a person from outside the office that placed the
camera under her desk, Elaine spoke with Pam Elder, another legal assistant with M&T. Elaine
explained to Pam Elder that the object was a spy camera and that she found it attached under her
desk pointed at her genital area and told Pam Elder to go check under her desk. There was not a
spy camera under Pam Elder’s desk.

12.

Next, Elaine went to the desks of two other legal secretaries, Charna Horwath and J ackie

Rios, and told them about the spy camera and its location underneath her desk.
13.

Charna Horwath told Elaine that she should send an email to the firm’s partners—Bill
Merritt, James Tenney, and Lex Watson—regarding what she had found and where it was hidden
and also to inform building security. Elaine also decided to include all female employees of
M&T, both secretaries and female attorneys.

14.
After Elaine sent the email, she immediately packed her things to go home with the

camera. On her way out the door, Elaine ran into Nancy Wiggins-Lester, a female attorney with

 

 
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M&T. Referencing the email she received, Nancy Wiggins-Lester asked to see the spy camera.
Blaine lifted up the spy camera, got into a waiting elevator and later met up with her husband
Dean to view the recorded video clip that was stored on the spy camera using Dean’s laptop
computer.

15.

Once home, Elaine gave the camera to Dean. Dean immediately realized the camera was
equipped with its own flash memory drive capable of holding and saving 8 GB worth of video
and images. Dean removed the memory card and inserted it into his own computer.

16.

The first video on the memory drive was recorded at approximately 6:30 AM on the
morning of May 10, 2010, The recorded video lasts 1:56, but it is the first 11 seconds of the
video that are the most shocking and deplorable.

17.

The video begins with a ruffled sound similar to a person running their finger over a
microphone. The video begins with what appears to be a person’s hand fidgeting with the
camera and somehow trying to place the camera underneath the desk. Once the camera is
seemingly in optimal genital area viewing, the arm retracts and the person bends down to check
on his handiwork.

18.

Six seconds into the video, after the preliminary adjustment and placement of the spy

camera underneath Elaine’s desk pointed towards her seat and genitalia area, the perpetrator

bends down to look underneath the desk to check on his handiwork.

 

 

 
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19.

Six seconds into the video, the perpetrator bends down to look at the spy camera, .

presumably to make sure that the camera is pointed perfectly at Elaine’s genitalia area.
20.

Six seconds into the video, the perpetrator’s face appears in the upper left corer of
Elaine’s desk to check on his handiwork.

21.

Six seconds into the video, Defendant James F. Tenney bends down to check on the spy
camera he placed underneath the desk directly at the genitalia area of his secretary, Elaine
Pelton, who has worked at Meritt & Tenney, LLP, for 10 years and has always sat in the same
desk.

22.

Defendant Tenney’s face peers underneath Elaine’s desk at the spy camera for couple of

seconds. Defendant Tenney stares directly at the spy camera trying to determine whether the

placement of the camera is just right.

23.

Presumably, Defendant Tenney is not satisfied with the position of the spy camera or the
angle it is pointed towards Elaine’s genital area since Defendant Tenney reaches under the desk
and makes one more last adjustment to the spy camera.

24.

Defendant Tenney was staring directly at the camera and placing it perfectly the way he

wanted it since you see his arm reach under the desk one last time to make the last perfect

adjustment right before the viewer sees his feet walk out of the office.

 

 
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25.

When Elaine and Dean viewed the video for the first time, there was no doubt that they
immediately recognized the person that put the camera underneath her desk pointed at her genital
area. Elaine did not return to work.

26.

On May 11, 2010, at 8:36 AM, undersigned counsel sent a notice letter to Defendant
M&T via the three managing partners—Bill Merritt, James Tenney, and Lex Watson (the “M&T
Partners”). The M&T Partners already knew about the device because of the email that Elaine
sent on May 10", but the letter outlined the events of May 10, 2010, and let the M&T Partners
know that Elaine felt violated as a result of the discovery. A true and correct copy of the Notice
Letter is attached hereto as Exhibit A.

27.

On May 11, 2010, at 3:19 PM, approximately 6 hours and 43 minutes after the M&T
Partners received the Notice Letter, M&T partner Lex Watson responded to the letter via email
and sent carbon copies to the other M&T partners, Bill Merritt and James Tenney. A true and
correct copy of the Response Letter is attached hereto as Exhibit B.

28.

After 6 hours and 43 minutes of investigation, M&T was able to state that “[w]e are

certain that no one in our firm would ever engage in such activity, and thus it would appear that

someone else with access to the building has engaged in this activity.”

 

 
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29.
Additionally, after 6 hours and 43 minutes of investigation, M&T determined that
“I cJertainly, none of the partners were aware of any such activities and will not tolerate any such
activities.”
30.
Defendant Tenney’s actions in this matter were an illegal attempt to commit a physical
injury upon Defendant Elaine Pelton.
31.
Plaintiffs are entitled to recover damiages for civil assault.
32.
Defendant Tenney placed the surveillance camera underneath the desk in manner which
was an unlawful touching of Plaintiff Elaine Pelton’s person. The indirect unlawful touching

violated Plaintiff Elaine Pelton’s person and tight to her own body.

33.
Defendant Tenney’s actions constitute an unlawful touching and any unlawful touching is
a physical injury and is actionable. Plaintiff Elaine Pelton is entitled to recover damages under

Georgia law for Defendants’ unlawful touching.

34.
The physical impact on Plaintiff Elaine Pelton caused her physical injury and the physical

injury has caused her mental stress and anguish.

35.

Plaintiff Elaine Pelton is entitled to recover damages for mental pain, suffering, and

anguish.

 

 
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36.
Defendants’ actions and conduct were malicious and wanton and directed toward
Plaintiff Elaine Pelton.
37.
Plaintiff Elaine Pelton is entitled to recover damages for mental pain, suffering, and
anguish.
38,
Defendants are liable to Plaintiffs directly, as well as under theories of respondeat
superior and agency principles. |
39,
Defendant M&T, as a business open to the public, is bound under Georgia and common
law to exercise the highest degree of care, foresight, prudence and extraordinary diligence to

assure that employees are not retained or supervised in a negligent manner.
40,

Plaintiffs’ injuries were caused by the negligence, wrongdoing, unlawful acts and
omissions, carelessness, recklessness and misconduct of Defendant M&T and its agents and.
employees in the negligent retention and supervision of Defendant Tenney.

Al.

Plaintiffs’ injuries were caused by the negligence, wrongdoing, unlawful acts and

omissions, carelessness, recklessness and misconduct of Defendant M&T in the supervision,

training and standardizing of managers, partners, associates, and other law firm personnel.

 

 

 
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42.

Defendant M&T was negligent in exercising its duty to Plaintiff Elaine Pelton, and said

negligence was the proximate cause of her injuries.
43.
Plaintiffs are entitled to an award of damages from Defendant M&T as a result of the
negligence set out herein.
44.
Defendants’ conduct subjected Plaintiffs to severe emotional distress.
45,

The injuries sustained by Plaintiffs were proximately caused and/or substantially
contributed to by Defendants’ negligence which has caused incredible and continuing emotional
distress.

46.

Defendants are liable to Plaintiffs for all damages recoverable under Georgia law,
including general, special and compensatory proximately resulting from the intentional and
negligent infliction of emotional distress upon Plaintiff brought about by the acts and omissions
of Defendants.

AT.

Plaintiff Dean Pelton is the husband of Plaintiff Elaine Pelton and was so on the date in

question. — }
Ag.
Asa direct and proximate result of the negligence and other acts of Defendants, Plaintiff

Dean Pelton suffered the loss of support, services and companionship of his wife, Plaintiff Elaine

 

 
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Pelton. Defendants are therefore liable to Plaintiff Dean Pelton for loss of consortium in an
amount to be proved at trial.
49.

The actions of Defendant M&T’s employees in failing to recognize possible unlawful.
surveillance and other unlawful explicit acts to continue in the work place represents negli gent
hiring, training, supervision and retention of said employees by Defendant M&T. |

50.

Because Defendant M&T had knowledge of, or in the exercise of reasonable care should
have had knowledge of, the environment and propensity of Defendant M&T’s employees to
conduct unlawful surveillance and other unlawful and explicit acts within the work place,
Defendant M&T is liable for the negligent hiring, training, supervision and retention of its
employees, as well as the negligent entrustment of said duties. Said negligence was the
proximate cause of damages and injuries to Plaintiffs.

51..

Defendant M&T’s negligent hiring, training, supervision and retention of its employees

was the proximate cause of damages and injuries to Plaintiffs.
52.

Defendant M&T is liable to Plaintiffs for all of the damages sustained as.a result of its

employees’ tortious conduct toward Plaintiffs. Plaintiffs are entitled to recover all damages,

including general, special and compensatory damages proximately resulting from said tortious

conduct.

 

 
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53.

Defendant M&T and its agents are liable for Plaintiffs’ injuries sustained, pain and

suffering, cost of treatment and all other elements of damages allowed under law.
54.

Defendant M&T failed to enact and enforce a system by which members of the public
and Defendant M&T’s invitees and employees would be offered a safe and congenial work place
wherein an employee or an invitee would not be concerned about a possible video surveillance
camera being underneath a desk or other position and said failure to enforce policies, procedures
and systems was a proximate cause of damages to Plaintiffs.

55.

Defendants’ actions constitute negligence per se.

56.

Plaintiffs, through counsel, attempted to obtain the status of Defendant Tenney’s
employment status with Defendant M&T shortly after the facts of the alleged incident came to
light with the managing partners of Defendant M&T, in part to obtain information that could be
helpful to determine Plaintiff Elaine Pelton’s work status and ability to return to work.
Defendant M&T, through its agents, refused to provide the employment status of Defendant
Tenney or any information regarding Defendant Tenney’s employment status whatsoever.

57.

The foregoing acts of the Defendant M&T evidences a species of bad faith that entitles

Plaintiffs to recover her necessary expenses of litigation, including an award of reasonable

attomey’s fees and expenses required by this action.

 
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58.

The injuries sustained by Plaintiffs were the direct and proximate result of the negligence
of the Defendants. But for said negligence, Plaintiffs would not have suffered injuries and
damages.

59.

As a proximate and foreseeable result of the negligence of Defendants, Plaintiffs received
injuries, endured pain and suffering, mental anguish, loss of the enjoyment of life, loss of
consortium, and suffered other damages as will be proven at trial and permitted under Georgia
law.

60.

That each of the forgoing acts and omissions constitute an independent act of negligence
on the part of Defendants and one or more or all above stated acts were the proximate causes of
the injuries to Plaintiffs.

61,

Plaintiffs are entitled to recover for the injuries and pain and suffering sustained, and all
other elements of damages allowed under Georgia law, including but not limited to all
compensatory, general, special, incidental, consequential, punitive and/or other damages
pennitted. Plaintiffs states their intention to seek all compensatory, special, economic,
consequential, general, punitive, and all other damages permissible under Georgia Law,
including, but not limited to:

a) Personal injuries;

b) Invasion of privacy;

c) Past, present and future pain and suffering;

 
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d) Mental anguish;
- €) Loss of the capacity for the enjoyment of life;

t) Lost wages;

g) Impaired ability to labor;

h) Incidental expenses;

i) Loss of earning capacity; and

j) Consequential damages to be proven at mal.

| | 62.

The Defendants acted with willful misconduct, malice, fraud, oppression, wantonness and
an entire want of care raising the presumption of a conscience indifference to the consequences.
Accordingly, Plaintiffs are entitled to recover punitive damages, without limitation or cap, from

each of the Defendants, in accordance with the enlightened conscience of an impartial jury.

WHEREFORE, Plaintiffs Elaine Pelton and Dean Pelton demands judgment against .
Defendants Merritt & Tenney, LLP, Merritt Watson, LLP, and James F. Tenney and requests the
following:
(a) Process issue as provided by law;
(b) ‘Plaintiffs be awarded actual damages in amounts to be shown at trial from the
Defendants;

(c) Plaintiffs be awarded all damages for the permanent injury to Elaine Pelton and
all general, special, compensatory, economic, punitive and other allowable
damages in accordance with the enlightened conscience of an impartial yury from

the Defendant and as permitted under Georgia law;

 

 
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(d) That all costs of this action be cast against Defendants;

(e) For attorney’s fees and costs of litigation in an amount which will be proven

through the evidence at the time of trial;

(ff Plaintiffs have a trial by jury; and

(g) Plaintiff has such other relief as this Court deems just and proper.

This 27th of July, 2010.

305 West Wieuca Road, N.E.
Atlanta, Georgia 30342
404-842-7700

ALLEN L. BROUGHTON, P.C.

 
  
 

See ho SA e é
Allen L. Broughton
Georgia Bar No. 086359
Brian C. McCarthy
Georgia Bar No. 001322
Attorneys for Plaintiff

  

 
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Allen L. Broughton, PC.
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May 10, 2010
VIA EMAIL ONLY VIA EMAIL ONLY VIA EMAIL ONLY
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Suite 500 Suite 500 Suite 500
200 Galleria Parkway 200. Galleria Parkway 200 Galleria Parkway
Atlanta, Georgia 30339 . Atlanta, Georgia 30339 Atlanta, Georgia 30339

Dear Messrs. Merritt, Tenney, and Watson:
This law firm represents Dean and Elaine Pelton.

J am writing this letter to inform Merritt & Tenney, LLP, (““M&T”) and its partners of a
very disturbing event which came to Elaine’s attention this morning.

Elaine arrived at work yesterday morning around 7 AM for her usual 7 AM to 4 PM work
day as a legal secretary at M&T much the same way she has done for the past 10} years. Shortly
after relieving the receptionist from 10 AM to 11:30 AM, Elaine heard a “clunk” sound of
something hitting her Dictaphone pad beneath her desk.

Confused, Elaine bent down to find a small black object, about the size of a cigarette
lighter, lying on the floor. She looked up to where she thought it came from and found a small
strip of Velcro tape where the object had been attached to the underside of her desk.

The object had some blinking lights on it and writing on the side and Elaine began to try
‘and find out what it was. Elaine emailed her husband, who did a quick search on the internet of
the writing on the side of the object, and confirmed that it was in fact a wireless flash drive spy

camera.

When attached to the underside of her desk to the Velcro strip, the hidden spy camera
pointed directly at Elaine’s chair, legs, and genitalia.

 

 
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William J.W. Merritt, Esq.
James F. Tenney, Esq.
Lex A Watson, Esq.

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Immediately concerned that it could be a person from outside the office that placed the
camera under her desk, Elaine went to another secretary in your office, Pam Elder, showed her
the device, its location, and told her to “go look under your desk.” Thankfully, Ms. Elder did not

find a device under her desk.

Next, Elaine went to yet another legal secretary, Charna Horwath, and told her about the
device and its location. Ms. Horwath advised Elaine to “email the partners” and “inform

building security.”

Elaine then emailed all M&T pariners regarding the device copying all the secretarial
staff and the female attorneys in M&T. After the email was sent from Elaine’s merritt-
tenmey.com email address, Nancy Wiggins-Lester ran into Elaine by the office elevators and
asked to see the device, presumably so she could go and check her own desk for anything

similar.

Elaine feels extremely violated by this event and the discovery of this hidden spy camera,
especially given its location and the images and video it was designed to collect under her desk,
pointed at her groin area. The discovery of such a device creates a hostile work environment for
Elaine and she is concerned as to how long such a device has been there since she has sat in the

same desk for her full 10 years of employment.

To the best of my knowledge, M&T does not have a human resources department or a
human resources officer. I am writing this letter to M&T and its partners to put M&T on notice
- of this event and the possible behavior of one of M&T’s employees placing the camera
underneath Elaine’s desk and creating such an environment in the work place.

Thank you for your time. Please feel free to contact my office with any questions.

Regards,
/s/ Brian C. McCarthy

Brian C. McCarthy

 
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Brian McCarthy

 

From: Iwatson@merritt-tenney.com

Sant: : Tuesday, May 4 1, 2010 2:19 PM

To: Brian McCarthy

Cc: {tenney@merritt-ienney.com; wmerritt@merritt-tenney.com
Subject: Elaine Pelton

Attachments: SKMBT_ 50010051 14 1330.pdf

Mr. McCarthy:

Please see the attached letter regarding yesterday's incident.

[ have not heard back from your office regarding Elaine coming to the office so that she’can
speak with the police and turn the camera over to them. As | indicated to you and to Mr. Broughton earlier, we
cannot and will not tolerate or condone the invasion of our employees’ privacy. We are certain that no one in
our firm would ever engage in such activity, and thus it would appear that someone else with access to the
building has engaged in this activity. Accordingly, it is very important that the matter be properly and
-expeditiously investigated by the police so that everyone in the building can be protected from another such
tacident. Please let me know when Elaine will be here.

Lex A. Watson, I

Merritt & Tenney, LLP

200 Galleria Parkway, Suite 500
Atlanta, Georgia 30339

Phone (770) 952-6550

Fax (770) 952-0028

IRS Notice:

Unless expressly stated otherwise above, in the event this communication contains information regarding
federal tax issues, U.S. Treasury Department Regulations require us to advise you that nothing contained in this
message was intended or written to be used, can be used by any taxpayer, or may be relied on or used by any
taxpayer for the purpose of avoiding penalties that may be imposed on the taxpayer under the Internal Revenue
Code of 1986, as amended. It may not be shared with any other person without our prior written consent other
than as required by law or by ethical rules. This prohibition on sharing this message does not preclude you
from sharing with others the federal tax nature of any transaction discussed herein or the fact that you may have

consummated such transaction.

Confidentiality Notice:

This message is being sent t by or on behalf of an attomey, It is intended exclusively for the individual or ‘entity
to which it is addressed. This communication may contain information which is proprietary, privileged or
confidential or otherwise legally exempt from disclosure. If you are not the named addressee, you are not
authorized to read, print, retain, copy or disseminate this message or any part of it. If you have received this
message in error, please notify the sender immediately by e-mail and delete all copies of the message. We have
taken precautions to minimize the risk of transmitting software viruses, but we advise you to carry out your own
virus checks on any attachment to this message. We cannot accept liability for any loss or damage caused by

software viruses.

 

 
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p

MERRITT & TENNEY LLP

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May 11, 2010

Brian C. McCarthy, Esq.
305 West Wicuca Rd.
Atlanta, Georgia 30342

Inre: Elaine Pelton

Dear Mr. McCarthy:

With respect to the discovery that Ms. Pelton made yesterday, we are obviously
upset and distutbed that anyone would place any camera in our offices to spy upon or otherwise
invade the privacy of our personnel, and that it was apparently placed in a location to obtaim
illicit images of Ms: Pelton makes thie actions of the perpetrator all the more egregious.
Certainly, none of the partners were aware of any such activities and will not tolerate any such
activities. , cnet tp dope ge cee b ge bee tee tpn pe ee get

To both get to the bottom of this incident, and to insure that n no o similar incident
ever occurs again, we are undertaking the e following steps:

(a). Building security has been notified of the incident, “and they have been requested
to warn other tenants in the building to check their spaces. for suspicious objects;

(b) We have requested that each person in our offices periodically check their office
for unusual object or materials; and

(c) We have contacted the Cobb County Police Department and have requested that
they investigate the incident and attempt to determine who might have placed the
object in that office. In that regard, it is our understanding that Ms. Pelton still
has possession of the camera that she found? However, the camera will need to.
be turned over to the authorities for-use in connection with that criminal

investigation. Hopefully, they will be able io trace the camera to the party that

 

' Notwithstanding the statement in-your letter, this incident h has not created:a hostile work environment.. Blaine has
been with our firm long enough to know that we would not, and will not, tolerate such activity. What has occurred
is the commission of a criminal act by someone, and we intend to press the authorities to find out who did it and to

prosecute,

? Elaine is not in the office today (onderstandably).

 

 
Case 1:10-cv-03063-RLV Document1-1 Filed 09/23/10 Page 21 of 36

Mr. McCarthy
May 11, 2010
Page 2

originally purchased the camera,’ and thereby determine who placed the camera
in our offices. If they do, then we certainly would want the police to pursue
criminal charges to the fullest extent permitted under the law — and we believe
that you would concur in that desire.

- With respect to the preservation of information, we do not intend to alter our
normal practice regarding the preservation of information. Obviously we do not have any
documents or data that came from and/or may be related to the camera or its discovery (other
than the emails from Elaine Pelton and from you). Therefore, as of today, there is very little to
preserve. With respect to communications (electronic or otherwise) between personnel within
our offices, communications regarding client matters are privileged and not discoverable.

Once again, we want you to know that we are deeply disturbed by this incident
and we are determined to find out how it occurred, and to prosecute whoever placed the camera
in Elaine's office.

 

Lex A. Watson, IT

 

7 As you may be aware, most electronics/computer stores scan the serial numbers of such devices at the time they
are purchased, and as a result it may be possible for the Cobb County Police to determine who purchased the

camera. The abilify to obtain fingerprints from the camera and/or the underside of the desk will depend upon how
much the camera has been handled by Ms. Pelton and/or others, and will depend upon how long the camera has been
in her office.

 

 
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 22 of 36

 
 

The Hartford TRUSTED
One Hartford Plaza :
Hartford, CT O6I5S Z Og |

T (860) 547 5000 YEARS }

THE HARTFORD

SENT VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

September 13, 2010

Richard L. Robbins

Robbins Law, LLC

999 Peachtree Street, N.E., Suite 1120
Atlanta, Georgia 30309

RE: Lawsuit: Elaine Pelton et al v. Merritt & Tenney, LLP et al
State Court of Cobb County, No. 10-A-7442-§
Claim No.: = ¥VCL55186

Dear Mr. Robbins:

Hartford Fire Insurance Company (“Hartford”) has received your letter of August 13,
2010 tendering the defense of the referenced lawsuit on behalf of “Merritt Watson LLP (fka
Merritt & Tenney, LLP)” (“Law Firm”) for whom you filed an answer. After reviewing the
allegations of the complaint and the terms of the applicable policy, Hartford has determined
that the claims may not be covered. Hartford will agree to defend the Law Firm under a
reservation of rights. Hartford also disclaims coverage as set forth in this letter. The purpose
of this letter is to identify the key coverage defenses that Hartford perceives at this time.

I. The Lawsuit
In their complaint, plaintiffs Elaine Pelton and Dean Pelton allege that Elaine had

worked as a legal secretary for the Law Firm seated at the same desk for 10 years. After she

female employees to what she found, Elaine went home and gave the camera to her husband
Dean. Plaintiffs contend the footage shows James F, Tenney (a partner of the Law Firm)

 

While the Complaint lists Merritt & Tenney LLP and Merrit Watson LLP as Separate entities, you have
answered the complaint on behalf of “Merritt Watson LLP ffk/a Merritt & Tenney, LLP.” For convenience,
Hartford uses the term “Law Firm” in this letter. However, pending clarification and resolution of the actual
legal status of the respective partnership entities, Hartford Teserves its rights as to Merritt Watson LLP on the
additional issue of whether Meritt Watson LLP is an insured for this claim. See Section If, infra.

 
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 23 of 36

adjusting the camera underneath the desk to be placed directly at Elaine’s ge
Plaintiffs also contend that Tenmey’s conduct was “illegal.” (¥ 30).

ritalio,

including Bill Merritt, James Tenney and Lex Watson — outlining the events of the prior day.

Plaintiffs contend that Tenney’s placement of the camera was an unlawful touching
that has caused her mental stress and anguish. ({ 34). In addition, plaintiffs assert that
defendants’ conduct was malicious and wanton and that defendants are liable both “directly,
as well as under theories of respondeat superior and agency principles.” (9§ 36, 38).
Separately, plaintiffs seek to recover against the Law Firm for negligently and wrongfully
hiring, training, retaining and supervising Tenney and the Law Firm’s employees. Further,
against M&T, plaintiffs allege a failure to provide “a safe and congenial work place,” (4] 54).

For relief, plaintiffs seek compensatory and punitive damages along with attorney
fees against the Law Firm for its “bad faith.” Separately Dean Pelton seeks to recover for the
“loss of support, services and companionship” of his wife Elaine Pelton.

In its answer, the Law Firm defends that none of the partners other than Tenney were
aware of the camera and that plaintiffs have shown no evidence that the Law Firm knew or
should have known of the camera. The Law Firm denies liability for the placement of the
camera under the theories advanced by plaintiffs.

if. The Policy

Hartford issued policy number 20 SBA TE1805 for the policy period 7/1 /09-7/1/10
(the “Policy”) to Merritt & Tenney as the named insured. The Policy contains a 1 million

Based on the information received, Merritt Watson, LLP is a successor entity. Under
the section “Newly Acquired or Formed Organization,” the policy covers certain successor
partnerships but not for covered injuries that occurred or “offenses” that were committed
before you acquired or formed the organization. Consequently, there would not appear to be
coverage for liabilities of Merritt Watson, LLP.

The Policy contains coverage form SS 00 08 04 05 which reads as follows:
A, COVERAGES
1. BUSINESS LIABILITY COVERAGE (BODILY

INJURY, PROPERTY DAMAGE, PERSONAL AND
ADVERTISING INJURY)
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 24 of 36

Insuring Agreement

a. We will pay those sums that the insured becomes legally
obligated to pay as damages because of “bodily injury”,
“property damage” or “personal and advertising injury” to
which this insurance applies. We will have the right and
duty to defend the insured against any “suit” seeking those
damages. However we will have no duty to defend the
insured against any “suit” seeking damages for “bodily
injury”, “property damage” or “personal and advertising
injury” to which this insurance does not apply

ok ok
The Policy will only respond to “bodily injury”, “property damage” or “personal and
advertising injury” occurring during the policy period in the coverage territory. Additionally,
the “bodily injury” or “property damage” must be caused by an “occurrence” defined as “an
accident, including continuous or repeated exposure to substantially the same general
harmful conditions.”

The terms “bodily injury”, “property damage” or “personal and advertising injury”, “bodily
injury” are defined as:

% oe
5. “Bodily injury” means physical:

a. Injury;
b. Sickness; or
ce. Disease

Sustained by a person and, if arising out of the above, mental
anguish or death at any time.

20. “Property damage” means:

a. Physical injury to tangible property, including all resulting loss
of use of that property. All such loss of use Shall be deemed to
occur at the time of the physical injury that caused it: or

b. Loss of use of tangible property that is not physically injured,
All such loss of use shall be deemed to occur at the time of the

“occurrence” that caused it.
oH
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 25 of 36

17. “Personal and advertising injury” means injury, including
consequential “bodily injury”, arising out of one or more of the
following offenses:

False arrest, detention or imprisonment;

Malicious prosecution;

¢. The wrongful eviction from, wrongful eniry into, or invasion of
the right of private occupancy of a room, dwelling or premises
that the person occupies, committed by or on behalf of its
owner, landlord or lessor;

d. Oral, written or electronic publication of material that slanders
or libels a person or organization or disparages a person’s or
organization’s goods, products or services;

e. Oral, written or electronic publication of material that violates
a person’s right of privacy;

f, Copying in your “advertisement”, a person’s or organization’s
“advertising idea” or style of “advertisement”;

g. Infringement of copyright, slogan, or title of any literary or
artistic work, in your “advertisement”: or

h. Discrimination or humiliation that results in injury to the

feelings or reputation of a natural person.

SB

Further, the Policy contains exclusions including the following:
a. Expected Or Intended Injury
(1) “Bodily injury” or “property damage” expected or intended
from the standpoint of the insured. This exclusion does not

apply to “bodily injury” or “property damage” resulting from
the use of reasonable force to protect persons or property; or

(2) “Personal and advertising injury” arising out of an offense
committed by, at the direction of or with the consent or

acquiescence of the insured with the expectation of inflicting
“personal and advertising injury”.

eR
e. Employer’s Liability
“Bodily injury” to:

(1) An employee of the insured arising out of and in the
course of:

(a) Employment by the insured; or
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 26 of 36

(b) Performing duties related to the conduct of the
iiisured’s business,

(2) The spouse, child, parent, brother, or sister of that “employee”
as a consequence of Paragraph (1) above.

This exclusion applies:

(1) Whether the Insured may be liable as an employer or in any
other capacity; and

(2) To any obligation to share ‘damages’ with or repay someone
else who must pay ‘damages’ because of the injury.

This exclusion does not apply to liability assumed by the insured
under an “insured contract.”

# OR

p. “Personal and advertising injury”.

(3) Arising out of a criminal act committed by or at the
direction of the insured;

Ok

(15) Arising out of discrimination or humiliation committed by
or at the direction of any “executive officer”, director,
stockholder, pariner or member of the Insured.

OK

r. Employment-related Practices Exclusion
“Bodily injury” or personal and advertising injury” to:
(1) A person arising out of any:

(a) Refusal to employ that person;

(b) Termination of that person’s employment; or
(ce) Employment-related practices, policies, acts or
omissions, such as coercion, demotion, evaluation,
reassignment, discipline, defamation, harassment,
humiliation or discrimination directed at the person,
or
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 27 of 36

(2) The spouse, child, parent, brother or sister as a
consequence of “bodily injury” or “personal and
advertising injury” to the person at whom any of the
employment-related practices described in Paragraphs (a),
(b), or (c) above is directed.

This exclusion applies:

(1) Whether the insured may be liable as an employer
or in any other capacity; and

(2) To any obligation to share damages with or repay
someone else who must pay damages because of the injury.

TIE. Analysis

Plaintiffs’ claims for emotional distress and loss of consortium May not meet the
definition of “bodily injury” in the Policy. In addition, plaintiffs allege conduct that is
intentional which might not meet the definition of an “occurrence.” Even then, coverage for
“bodily injury” may be excluded under the provisions cited above or included in the Policy.

There are no allegations of “property damage” to consider.

Lastly, plaintiffs’ allegations may not fall within the “offenses” that constitute
“Personal or Advertising Injury.” Offense e. covers invasion of privacy but requires
“publication” which does not appear to be present as there is no allegation that the images
were disclosed to the public. Offense h. does cover “discrimination or humiliation that
results in injury to the feelings or reputation of a natural person.” Even then, coverage may
be excluded under the provisions cited above or included in the Policy, since any
discrimination or humiliation was apparently committed by a partner or member of the
insured (see exclusion p. (15)) and was employment related (see exclusion r.) .

For all of these reasons there does not appear to be any coverage for the claims
asserted by plaintiffs.

IV. Reservation of Rights

Despite the potential for non-coverage, Hartford is prepared to retain Michael H.
Schroder of the law firm Swift, Currie, McGhee & Hiers LLP to defend the Law Firm under
a reservation of rights that includes the ability to withdraw from the defense at any time or to
seek declaratory relief. The terms of the defense include the express understanding that costs
incurred by Hartford in defense or settlement will be reimbursed by the Law Firm if coverage
is determined not to exist. No action by Hartford, or any agent, lawyer or representative
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 28 of 36

thereof while investigating or defending this claim, or in adjusting or compromising the

claim, shall be considered an estoppel or waiver of Hartford’s right to deny coverage.

Because damages may go beyond the terms of coverage and/or beyond the limits of
liability, Hartford suggests that you tender the claim to all potential insurers to maximize
insurance coverage.

Hartford wiil reconsider its coverage position if new information warrants additional
analysis, or if you believe Hartford has based its present position on inaccurate or incomplete
facts. If you believe either to be the case, please advise the undersigned as soon as possible.

Kindly indicate agreement to the terms of the defense offered by Hartford by having
this letter signed where indicated below and returning an executed copy to me. Hartford will
then assign defense counsel to appear in the case on the Law Firm’s behaif.

Should you have any questions regarding the foregoing and/or should you wish to

after in pert ral, please do not hesitate to contact me,

 
  
   

Consultant, Liabj ty Large Loss
The Hartford

One HartfordPlaza, T-8
Hartford, CT 06115

Phone: 860-547-8647

Fax: 860-547-6143

david majeski thehartford.com

 

Agreed to by Merritt Watson, LLP and Merritt & Tenney, LLP:

 

By:
Title:
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 29 of 36

KOBBINSFREED

EERE

ROBBINS FREED & ROSS LLC

  

 

ET gS a Naa pS

 

RICHARD L, ROBBINS
Direct: 678-701-9320
Email: richard robbins@robbinsfreed.com

September 16, 2010

VIA ELECTRONIC MAIL
AND U.S. MAIL

Mr. David Majeski

Consultant, Liability Large Loss
The Hartford

One Hartford Plaza, T-8
Hartford, CT, 06115

david. majeski@thehartford.com

Re: Policy Number: 20 SBA TE1805
Named Insured: Merritt & Tenney, LLP
Claim: Elaine and Dean Pelton

Dear Mr. Majeski:

This is in response in your letter of September 13, 2010. We appreciate
Hartford’s willingness to defend the Law Firm albeit under reservation of rights. We
accept the defense offered by Hartford and we acknowledge that this defense is .
pursuant to a reservation of rights as set forth in your letter.

We do not agree that, as a condition to a defense, the insured must indicate
“agreement to the terms of the defense offered by Hartford.” The terms of the defense
are established by policy and by law, and it is inappropriate for the insurer to insist that
the Law Firm alter those obligations. The insured will comply with its obligations under
the policy, and we expect the insurer to do so as well. We certainly want to avoid any
dispute with The Hartford, as we have a mutual interest in this matter, and we therefore
acknowledge that you are proceeding subject to the reservations set forth in your letter.

 

999 Peachtree Street ¢ Suite 1120 e Atlanta, GA 30309 ° T 678.701. 0381 oF "404. 856. 3250 © www.robbinsfreed.com

 

 
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Mr. David Majeski
September 16, 2010
Page 2

Please have defense counsel contact me immediately regarding the defense.

RLR/kim

cc: Anthony L. Cochran, Esq.

Nicolette Templer, Esq.
Kevin Bahr, Esq.
William J.W. Merritt, Esq.
Lex A. Watson Il, Esq.

ROBBINS FREED & ROSS LLC

Sincerely yours

Ricftard L. Robbins

 

 
Case 1:10-cv-03063-RL

September 22, 2010

Kevin J. Bahr, Esq.
Mason Bahr, LLP

Two Ravinia Drive
Atlanta, Georgia 30346

V Document 1-1 Filed 09/23/10 Page 31 of 36

 

THE
HARTFORD

RE: Elaine Pelton et al vy. Merritt & Tenney. LLP. et al
State Court of Cobb County, No. 10-A-7442-S
Hartford Claim No. YVCLS55186
Dear Mr. Bahr:

Hartford Fire Insura
September 7, 2010 tendering
Tenney. After reviewing the
policy, Hartford has determin
the terms of the policy. The p

I. The Lawsuit

In their complaint, plaj
worked as a legal secretary fo
desk for 10 years. Afier she
object that turned out to be a
informing the firm’s partners 2
and gave the camera to her
Tenney (a partner of the La
placed directly at Elaine’s ge
was “illegal.” ({ 30).

Plaintiffs allege that th
including Bill Merritt, James ]
day. The Law Firm responded
and that it appeared to be the a

Plaintiffs contend that

touching that has caused her 1

assert that defendants’ conduc

both “directly, as well as under
({1 36, 38). For relief, plainti

Tenney. Separately, Dean Pel

companionship” of his wife Elz

nce Company (“Hartford”) has received your letter of
the defense of the referenced lawsuit on behalf of James F.
allegations of the complaint and the terms of the applicable
ed that the claims against Mr. Tenney are not covered by

urpose of this letter is to set forth Hartford’s analysis.

ntiffs Elaine Pelton and Dean Pelton allege that Elaine had
r Merritt & Tenney, LLP (“Law Firm”) seated at the same

reported for work on May 10, 2010, she located a black
spy camera pointed at her chair, legs and genitalia. After

ind female employees to what she found, Elaine went home
(Fim Dean. Plaintiffs contend the footage shows Mr.

Firm) adjusting the camera underneath the desk to be
italia. Plaintiffs also contend that Mr. Tenney’s conduct

eir counsel informed the Law Firm’s managing partners —
fenney and Lex Watson — outlining the events of the prior
later that none of the partners were aware of the activities
rtions of someone with access to the building.

~—*

Mr. Tenney’s placement of the camera was an unlawful
nental stress and anguish.” (| 34). In addition, plaintiffs
r was malicious and wanton and that defendants are liable
theories of respondeat superior and agency principles.”
ffs seek compensatory and punitive damages against Mr.
fon seeks to recover for the “loss of support, services and
ine Pelton.

Claims
Hartford Plaza T-18-2
ilartlord, CT 06115

Hartford, CT 06115
Telephone 860 547 5000
Facsimile 860 547 8782

 

 

Mailing Address: 690 Asylum Avenue
Case 1:10-cv-03063-RL

in addition to review
separate answers filed on be
Firm defends that none of th
that plaintiffs have shown na
camera. The Law Firm den
advanced by plaintiffs, For h
but claims he pointed the can
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counts of unlawful surveillan¢

IL. The Policy

Hartford issued policy
(the “Policy”) to Merritt & T
dollar limit for both liability
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The Policy contains co

A. COVERAGES

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partners other than Mr.

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V Document 1-1 Filed 09/23/10 Page 32 of 36

mplaint, Hartford has reviewed the
Mr. Tenney. In its answer, the Law
Tenney were aware of the camera and
tm knew or should have known of the
ment of the camera under the theories
its he placed the camera under the desk
laine’s chair and not toward her genital
eamed that Mr. Tenney has been charged with three criminal
€ as a result of his conduct at issue in this case.

evidence that the Law Fi
és liability for the place
is part, Mr. Tenney adm

number 20 SBA TE1805 for the policy period 7/1/09-7/1/10
enney as the named insured. The Policy contains a 1 million
and Personal and Advertising Injury and a 2 million general

ncludes partners of the Law Firm as insureds “but only with
business.”

verage form SS 00 08 04 05 which reads as follows:

 

1. BUSINESS LIABILITY COVERAGE (BODILY INJURY,
PROPERTY DAMAGE, PERSONAL AND ADVERTISIN G
INJURY)

Insuring Agreement
a. We will pay those sums that the insured becomes legally

obligated to} pay as damages because of

“property d

“bodily injury”,
age” or “personal and advertising injury” to which

this insuranc¢ applies. We will have the tight and duty to defend
the insured apainst any “suit” seeking those damages. However
we will have no duty to defend the insured against any “suit”
seeking damages for “bodily injury”, “property damage” or

“personal and

not apply

The Policy will only respond to “bodily injury”, “
advertising injury” occurring di
the “bodily injury” or “propert
accident, including continuou

harmful conditions.”

The terms “bodily injus

are defined as:

advertising injury” to which this insurance does

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property damage” or “personal and
uring the policy period in the coverage territory. Additionally,
y damage” must be caused by an “occurrence” defined as “an

5 or repeated exposure to substantially the same general

33 6k.

iY > property damage” or “personal and advertising injury”

 
Case 1:10-cv-03063-RL

a.

“Bodily injury’

Injury;

b. Sickness; o

c.

Disease

sustained by a]
death at any tin

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a.

“Property dama

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such loss of
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17. “Personal and adv

b.
e.

Further, the Policy contains exclusions providing that the insurance does not apply to

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False arrest!
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V Document 1-1 Filed 09/23/10 Page 33 of 36

means physical:

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person and, if arising out of the above, mental anguish or
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OK
ige” means:

ury to tangible property, including all resulting loss of
property. Ali such loss of use shall be deemed to occur at
the physical injury that caused it; or

of tangible property that is not physically injured. All
ruse shall be deemed to occur at the time of the

2” that caused it.
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ertising injury” means injury, including consequential
iy”, atising out of one or more of the following offenses:

detention or imprisonment;

rosecution;

ul eviction from, wrongful entry into, or invasion of the
yate occupancy of a room, dwelling or premises that the
pies, committed by or on behalf of its owner, landlord or

n or electronic publication of material that slanders or
erson or organization or disparages a person’s or
h’s goods, products or services;
n or electronic publication of material that violates a
ht of privacy:

your “advertisement”, a person’s or organization’s
idea” or style of “advertisement”;
t of copyright, slogan, or title of any literary or artistic
ur “advertisement”; or
ion or humiliation that results in injury to the feelings or

 

reputation of a natural person.

the following types of claims

a.

Expected Or Intended Injury
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 34 of 36

(1) “Bodily

the standpe
“bodily inj
reasonable

injury” or “property damage” expected or intended from
int of the insured. ‘This exclusion does not apply to
ury” or “property damage” resulting from the use of
force to protect persons or property; or

@) “Personal and advertising injury” arising out of an offense

committed by, at the direction of or with the consent or acquiescence
of the instred with the expectation of inflicting “personal and
advertising injury”.

OR ROK

e. Employer’s Liability

 

“Bodily injury” to:

(1) An employee of the insured arising out of and in the course
of:

(a) Employment by the insured; or

(b) Performing duties related to the conduct of the insured’s
business.

(2) The spot
consequence

se, child, parent, brother, or sister of that “employee” as a
of Paragraph (1) above.

This exclusion applies:

(i) Whether
capacity; and

the Insured may be liable as an employer or in any other

(2} To any
who must pa’

obligation to share ‘damages’ with or repay someone else
y ‘damages’ because of the injury.

n does not apply to liability assumed by the insured under
ontract.”

This exclusic
an “insured c

ak OK

p. “Personal and advertising injury”.

(3) Arising ont of a criminal act committed by or at the direction of

the insured;

(15) Arising ¢
the direction ¢
or member of

ut of discrimination or humiliation committed by or at
f any “executive officer”, director, stockholder, partner
the Insured.

 
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 35 of 36

r. Employment-related Practices Exclusion
“Bodily injury” or personal and advertising injury” to:
(1) A person arising out of any:

(a) Refusal to employ that person;

(b) Termination of that person’s employment; or

(c) Employment-related practices, policies, acts or
omissions, such as coercion, demotion, evaluation,
reassignment, discipline, defamation, harassment,
humiliation or discrimination directed at the person, or

(2) The} spouse, child, parent, brother or sister as a consequence
of “bodily injury” or “personal and advertising injury” to the
person jat whom any of the employment-related practices
described in Paragraphs (a), (b), or (c) above is directed,

This exelusion applies:

(1) Whether the insured may be liable as an employer or in
any other capacity; and

(2) [fo any obligation to share damages with or repay
> else who must pay damages because of the injury.

 

 
 

Ift. The Analysis

As a partner of the Law Firm, Mr. Tenney would be an insured for conduct related to
the firm’s business only. The allegations, however, are for personal pursuits that are not
related to the operation of the Law Firm. On that basis alone, coverage is absent. In
addition, any coverage for “bodily injury” would need to arise from an occurrence. In
contrast, plaintiffs allege and Mr. Tenney admits that he intentionally placed the camera
under Elaine’s desk; accordingly, there is no “occurrence” and these allegations do not fall
within the insuring agreement. Separately, even disregarding the allegation (and Mr.
Tenney’s admission) that the |placement of the camera was not an “occurrence” within the
meaning of the policy, the claims for emotional distress and loss of consortium are not bodily
injuries as defined under the policy. See Section [G.(5)] (defining “bodily injury”).

somehow was triggered, coverage would be precluded by one or more applicable exclusions.
For instance, plaintiffs allege injuries that were intended and expected by Mr. Tenney, which
falls squarely within exclusign {a}. Moreover, to the extent Elaine was injured in her
capacity as an employee of the Law Firm, the policy excludes coverage for bodily injuries to
employees under exclusions (¢) and (r). Consequently, the bodily injury provisions do not
trigger a defense duty for Mr. Tenney.

In addition to these ge infirmities, even assuming the insuring agreement

 
Case 1:10-cv-03063-RLV Document 1-1 Filed 09/23/10 Page 36 of 36

There are no aliegations of “property damage” to consider.

Lastly, no duty to defend exists for “Personal or Advertising Injury.” Offense e.
covers invasion of privacy but requires “publication” which is not alleged. Although offense
h. does cover “humiliation that results in injury to the feelings or reputation of a natural
person,” coverage is excluded for injury arising out of a criminal act as well as for
“humiliation committed by or at the direction of any ... partner.” And, to the extent that
Elaine was injured in her capacity as an employee of the Law Firm, coverage is excluded
under exclusion (r).

IV. Conclusion

For the various reasons discussed in this letter, and any other policy provisions that
may apply, Hartford does not cover the claims asserted against Mr. Tenney. Hartford will
reconsider its coverage position if new information warrants additional analysis, or if you
believe Hartford has based its {present position on inaccurate or incomplete facts. If you believe
either to be the case, please advise the undersigned as soon as possible.

Should you have any| questions regarding the foregoing and/or should you wish to
discuss this matter in general,|please do not hesitate to contact me.

 
    

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